       Case: 1:13-cv-08642 Document #: 1 Filed: 12/03/13 Page 1 of 6 PageID #:1



                           IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

MERISSA SHIELDS-MASON,                              )
                                                    )
      Plaintiff,                                    )       Case No.:
                                                    )
               v.                                   )       COMPLAINT FOR VIOLATION OF
                                                    )       CIVIL RIGHTS AND STATE
CITY OF CHICAGO and CHICAGO                         )       SUPPLEMENTAL CLAIMS
POLICE OFFICER VERTIS HOLMES                        )
JR., Star No. 9237,                                 )
                                                    )       JURY DEMANDED
      Defendants.                                   )


                                              COMPLAINT

                                     JURISDICTION AND VENUE

        1.         This action arises under the United States Constitution and the Civil Rights Act of

1871 (42 U.S.C. Section 1983). This court has jurisdiction under and by virtue of 28 U.S.C.

Sections 1343, 1331 and 1367.

        2.         Venue is founded in this judicial court upon 28 U.S.C. Section 1391 as the acts

complained of arose in this district.

                                                PARTIES

        3.         At all times herein mentioned, Plaintiff Merissa Shields-Mason (hereinafter

“Plaintiff”) was and is a citizen of the United States, and was within the jurisdiction of this court.

        4.         At all times herein mentioned, Defendant City of Chicago Police Officer Veritas

Holmes, Jr., Star No. 9237, (“Holmes”) was employed by the City of Chicago Police

Department, and was acting under color of state law and as the employee, agent, or




                                                        1
       Case: 1:13-cv-08642 Document #: 1 Filed: 12/03/13 Page 2 of 6 PageID #:2



representative of the City of Chicago Police Department. This Defendant is being sued in his

individual capacity.

        5.       At all times herein mentioned, the City of Chicago was a political division of the

State of Illinois, existing as such under the laws of the State of Illinois. At all relevant times, the

City of Chicago maintained, managed, and/or operated the City of Chicago Police Department.



                                    FACTUAL ALLEGATIONS

        6.       On or about October 19, 2013, Plaintiff was parked at or near 2250 South State

Street, Chicago, Cook County, Illinois.

        7.       On that day and place Holmes, a City of Chicago police officer, issued Plaintiff a

parking ticket for parking too close to a fire hydrant.

        8.       After Plaintiff received the ticket from Holmes, Holmes used unreasonable and

unnecessary force against Plaintiff.

        9.       There was no legal cause for Holmes to use force against Plaintiff.

        10.      After using the unreasonable and unnecessary force against Plaintiff, Holmes wrote

Plaintiff another ticket for allegedly “parking in a crosswalk.”

        11.      By reason of the above-described acts and omissions of Defendant, Plaintiff

sustained injuries, including but not limited to, humiliation and indignities, and suffered great

mental, physical and emotional pain and suffering all to her damage in an amount to be ascertained.

        12.      The aforementioned acts of the Defendants were willful, wanton, malicious,

oppressive and done with reckless indifference to and/or callous disregard for Plaintiff's rights and

justify the awarding of exemplary and punitive damages in an amount to be ascertained according to

proof at the time of trial.



                                                    2
       Case: 1:13-cv-08642 Document #: 1 Filed: 12/03/13 Page 3 of 6 PageID #:3



        13.     By reason of the above-described acts and omissions of Defendant, Plaintiff was

required to retain an attorney to institute, prosecute and render legal assistance to him in the within

action so that she might vindicate the loss and impairment of his rights. By reason thereof, Plaintiff

requests payment by Defendants of a reasonable sum for attorney’s fees pursuant to 42 U.S.C.

Section 1988, the Equal Access to Justice Act or any other provision set by law.




                                               COUNT I
                                     Plaintiff Against Holmes for
                                        EXCESSIVE FORCE

        14.     Plaintiff hereby incorporates and realleges paragraphs one (1) through thirteen (13)

hereat as though fully set forth at this place.

        15.     Immediately after handing the ticket to Plaintiff, Holmes used excessive force

against Plaintiff’s person.

        16.     There was no legal cause for Holmes to use force against Plaintiff.

        17.     By reason of Defendant’s conduct, Plaintiff was deprived of rights, privileges and

immunities secured to her by the Fourth and/or Fourteenth Amendment to the Constitution of the

United States and laws enacted thereunder.

        18.     The physical violence inflicted upon Plaintiff by Holmes was unnecessary,

unreasonable, and excessive, and was therefore in violation of Plaintiff’s Fourth and/or Fourteenth

Amendment Rights. Therefore, Holmes is liable to Plaintiff pursuant to 42 U.S.C. § 1983.




                                                   3
       Case: 1:13-cv-08642 Document #: 1 Filed: 12/03/13 Page 4 of 6 PageID #:4



                                          COUNT II
                     Plaintiff Against Holmes and the City of Chicago For
                                  The Supplemental Claim of
                                          BATTERY


        19.    Plaintiff hereby incorporates and realleges paragraphs one (1) through eighteen

(18) hereat as though fully alleged at this place.

        20.    Holmes, without any legal cause, used force against Plaintiff’s person.

        21.    The use of force by Holmes against Plaintiff’s person constituted a battery to

Plaintiff.

        22.    As a result of the battery, Plaintiff was injured physically, emotionally, and

otherwise.

        23.    The City of Chicago is liable to Plaintiff for the acts of Holmes pursuant to the

doctrine of respondeat superior.

        24.    Therefore, Holmes and the City of Chicago are liable under the supplemental state

law claim of Battery.



        WHEREFORE, the Plaintiff, by and through her attorneys, ED FOX & ASSOCIATES,

requests judgment as follows against the Defendants, and each of them:

        1.     That the Defendants be required to pay Plaintiff’s general damages, including
               emotional distress, in a sum to be ascertained;

        2.     That the Defendants be required to pay Plaintiff’s special damages;

        3.     That the Defendant other than the City of Chicago be required to pay Plaintiff’s
               attorneys fees pursuant to Section 1988 of Title 42 of the United States Code, the
               Equal Access to Justice Act or any other applicable provision;

        4.     That the Defendant other than the City of Chicago be required to pay punitive and
               exemplary damages in a sum to be ascertained;



                                                     4
Case: 1:13-cv-08642 Document #: 1 Filed: 12/03/13 Page 5 of 6 PageID #:5



5.     That the Defendants be required to pay Plaintiff’s costs of the suit herein incurred;
       and

6.     That Plaintiff have such other and further relief as this Court may deem just and
       proper.




                                     BY:     s/ Jonathan D. Wassell
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                                         5
Case: 1:13-cv-08642 Document #: 1 Filed: 12/03/13 Page 6 of 6 PageID #:6



          PLAINTIFF HEREBY REQUESTS A TRIAL BY JURY

                                BY:    s/ Jonathan D. Wassell
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                                   6
